
779 So.2d 465 (2000)
STATE of Florida, Appellant,
v.
C.C.S., a minor, Appellee.
No. 2D99-2212.
District Court of Appeal of Florida, Second District.
October 25, 2000.
Robert A. Butterworth, Attorney General, Tallahassee, and Erica M. Raffel, Assistant Attorney General, Tampa, for Appellant.
*466 No Appearance for Appellee.
PATTERSON, Chief Judge.
The State appeals from the trial court's order withholding adjudication of delinquency because the trial court failed to suspend C.C.S.'s driver's license, contrary to the requirements of section 322.056(1), Florida Statutes (1997). C.C.S. entered a no contest plea to the delinquent act of possession of an alcoholic beverage while under the age of twenty-one, a violation of section 562.111, Florida Statutes (1997), and an enumerated offense under section 322.056(1). The trial court accepted the plea, withheld adjudication, and directed that C.C.S. comply with rules at home, complete community service hours, and comply with his alcohol/substance abuse evaluation for any treatment or counseling.
This court has held that even when the trial court accepts a no contest plea and withholds adjudication, section 322.056(1) mandates that the trial court suspend the juvenile's driver's license. See State v. J.V.W., 739 So.2d 173 (Fla. 2d DCA 1999). Thus, we reverse the trial court's order and remand for the trial court to suspend C.C.S.'s license in accordance with the requirements of section 322.056(1).
Reversed and remanded.
NORTHCUTT and SALCINES, JJ., Concur.
